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       and SGT. RICHTER
  10

  11                      UNITED STATES DISTRICT COURT
  12                     CENTRAL DISTRICT OF CALIFORNIA
  13
       CARL MITCHELL, et al.,                  CASE NO. CV16-01750 SJO (JPRx)
  14                                           [Assigned to the Honorable S. James Otero,
                     PLAINTIFFS,               Courtroom 10C]
  15

  16        v.                                 NOTICE OF LODGING
                                               [PROPOSED] STIPULATED ORDER
  17
       CITY OF LOS ANGELES, a municipal        OF DISMISSAL
  18   entity; et al.,
  19
                     DEFENDANTS.
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       NOTICE OF LODGING PROPOSED STIPULATED ORDER OF DISMISSAL
Case 2:16-cv-01750-SJO-JPR Document 118 Filed 05/29/19 Page 2 of 2 Page ID #:1095



  1    TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
  2          PLEASE TAKE NOTICE THAT, pursuant to Central District Local Rule 5-
  3    4.4 and Federal Rule of Civil Procedure 41(a)(2), Defendants lodge the following for
  4    the Court’s signature: (1) Proposed Stipulated Order of Dismissal.
  5

  6    Dated: May 29, 2019                 LOS ANGELES CITY ATTORNEY’S OFFICE

  7                                        By:            /s/
  8                                                  FELIX LEBRON
  9
                                                 Attorneys for Defendants
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       NOTICE OF LODGING PROPOSED STIPULATED ORDER OF DISMISSAL
